Case:04-02307-GAC7 Doc#:1 Filed:03/03/04 Entered:03/09/04 00:00:00   Desc:
                   Converted from NIBS Page 1 of 31
Case:04-02307-GAC7 Doc#:1 Filed:03/03/04 Entered:03/09/04 00:00:00   Desc:
                   Converted from NIBS Page 2 of 31
Case:04-02307-GAC7 Doc#:1 Filed:03/03/04 Entered:03/09/04 00:00:00   Desc:
                   Converted from NIBS Page 3 of 31
Case:04-02307-GAC7 Doc#:1 Filed:03/03/04 Entered:03/09/04 00:00:00   Desc:
                   Converted from NIBS Page 4 of 31
Case:04-02307-GAC7 Doc#:1 Filed:03/03/04 Entered:03/09/04 00:00:00   Desc:
                   Converted from NIBS Page 5 of 31
Case:04-02307-GAC7 Doc#:1 Filed:03/03/04 Entered:03/09/04 00:00:00   Desc:
                   Converted from NIBS Page 6 of 31
Case:04-02307-GAC7 Doc#:1 Filed:03/03/04 Entered:03/09/04 00:00:00   Desc:
                   Converted from NIBS Page 7 of 31
Case:04-02307-GAC7 Doc#:1 Filed:03/03/04 Entered:03/09/04 00:00:00   Desc:
                   Converted from NIBS Page 8 of 31
Case:04-02307-GAC7 Doc#:1 Filed:03/03/04 Entered:03/09/04 00:00:00   Desc:
                   Converted from NIBS Page 9 of 31
Case:04-02307-GAC7 Doc#:1 Filed:03/03/04 Entered:03/09/04 00:00:00   Desc:
                   Converted from NIBS Page 10 of 31
Case:04-02307-GAC7 Doc#:1 Filed:03/03/04 Entered:03/09/04 00:00:00   Desc:
                   Converted from NIBS Page 11 of 31
Case:04-02307-GAC7 Doc#:1 Filed:03/03/04 Entered:03/09/04 00:00:00   Desc:
                   Converted from NIBS Page 12 of 31
Case:04-02307-GAC7 Doc#:1 Filed:03/03/04 Entered:03/09/04 00:00:00   Desc:
                   Converted from NIBS Page 13 of 31
Case:04-02307-GAC7 Doc#:1 Filed:03/03/04 Entered:03/09/04 00:00:00   Desc:
                   Converted from NIBS Page 14 of 31
Case:04-02307-GAC7 Doc#:1 Filed:03/03/04 Entered:03/09/04 00:00:00   Desc:
                   Converted from NIBS Page 15 of 31
Case:04-02307-GAC7 Doc#:1 Filed:03/03/04 Entered:03/09/04 00:00:00   Desc:
                   Converted from NIBS Page 16 of 31
Case:04-02307-GAC7 Doc#:1 Filed:03/03/04 Entered:03/09/04 00:00:00   Desc:
                   Converted from NIBS Page 17 of 31
Case:04-02307-GAC7 Doc#:1 Filed:03/03/04 Entered:03/09/04 00:00:00   Desc:
                   Converted from NIBS Page 18 of 31
Case:04-02307-GAC7 Doc#:1 Filed:03/03/04 Entered:03/09/04 00:00:00   Desc:
                   Converted from NIBS Page 19 of 31
Case:04-02307-GAC7 Doc#:1 Filed:03/03/04 Entered:03/09/04 00:00:00   Desc:
                   Converted from NIBS Page 20 of 31
Case:04-02307-GAC7 Doc#:1 Filed:03/03/04 Entered:03/09/04 00:00:00   Desc:
                   Converted from NIBS Page 21 of 31
Case:04-02307-GAC7 Doc#:1 Filed:03/03/04 Entered:03/09/04 00:00:00   Desc:
                   Converted from NIBS Page 22 of 31
Case:04-02307-GAC7 Doc#:1 Filed:03/03/04 Entered:03/09/04 00:00:00   Desc:
                   Converted from NIBS Page 23 of 31
Case:04-02307-GAC7 Doc#:1 Filed:03/03/04 Entered:03/09/04 00:00:00   Desc:
                   Converted from NIBS Page 24 of 31
Case:04-02307-GAC7 Doc#:1 Filed:03/03/04 Entered:03/09/04 00:00:00   Desc:
                   Converted from NIBS Page 25 of 31
Case:04-02307-GAC7 Doc#:1 Filed:03/03/04 Entered:03/09/04 00:00:00   Desc:
                   Converted from NIBS Page 26 of 31
Case:04-02307-GAC7 Doc#:1 Filed:03/03/04 Entered:03/09/04 00:00:00   Desc:
                   Converted from NIBS Page 27 of 31
Case:04-02307-GAC7 Doc#:1 Filed:03/03/04 Entered:03/09/04 00:00:00   Desc:
                   Converted from NIBS Page 28 of 31
Case:04-02307-GAC7 Doc#:1 Filed:03/03/04 Entered:03/09/04 00:00:00   Desc:
                   Converted from NIBS Page 29 of 31
Case:04-02307-GAC7 Doc#:1 Filed:03/03/04 Entered:03/09/04 00:00:00   Desc:
                   Converted from NIBS Page 30 of 31
Case:04-02307-GAC7 Doc#:1 Filed:03/03/04 Entered:03/09/04 00:00:00   Desc:
                   Converted from NIBS Page 31 of 31
